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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Casey Lee Urbatsch,                           )      Case No. 1:16-cr-190
                                              )
               Defendant.                     )


       On June 16, 2020, the court conditionally released defendant pending the final hearing on

the petition to revoke his supervised release. Among the release conditions imposed by the court

was the requirement that defendant submit to home confinement with location monitoring.

       On July 16, 2020, the United States filed a Motion to Amend Conditions of Release. Having

consulted with defendant’s supervising Pretrial Services Officer, it advises that home confinement

with location monitoring of defendant is no longer necessary given defendant’s satisfactory

compliance with his conditions of release and supervision since being released on June 16, 2020.

It requests that the court remove this condition.

       There being no objection from defendant, the court GRANTS the United States’ motion

(Doc. No. 480). The court strikes the condition requiring defendant to submit to home confinement

with electronic monitoring. All other conditions of release imposed by the court remain in effect.

       IT IS SO ORDERED.

       Dated this 20th day of July, 2020.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court
